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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MMO                                                271 Cadman Plaza East
F. #2022V03577                                     Brooklyn, New York 11201



                                                   December 9, 2022

By ECF

The Honorable Dora L. Irizarry
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

The Honorable Diane Gujarati
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. The Real Property and Premises Known as 432 North
                     Oakhurst Drive, Condominium Unit 103, Beverly Hills, California
                     90210, and All Proceeds Traceable Thereto, et al., 22-CV-7410 (DG)

Dear Judge Irizarry and Judge Gujarati:

                Pursuant to Local Civil Rule 1.6, the government hereby notifies the Court that
the forfeiture allegations in above-captioned civil complaint arose out of the same criminal
conduct charged in the indictment in the criminal case, United States v. Andrii Derkach, 22-
CR-432 (DLI).

              The civil forfeiture complaint seeks forfeiture of

                     (a)     The real property and premises known as 432 North Oakhurst
                             Drive, Condominium Unit 103, Beverly Hills, California 90210,
                             together with its, appurtenances, improvements, fixtures,
                             easements, furnishings and attachments thereon, as well as all
                             leases, rents and profits therefrom, and all proceeds traceable
                             thereto;

                     (b)     The real property and premises known as 432 North Oakhurst
                             Drive, Condominium Unit 203, Beverly Hills, California 90210,
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                            together with its, appurtenances, improvements, fixtures,
                            easements, furnishings and attachments thereon, as well as all
                            leases, rents and profits therefrom, and all proceeds traceable
                            thereto;

                     (c)    Any and all funds on deposit in Stifel Nicolaus & Co. account
                            number ending in 9142, held in the name of 7D Business
                            Bureau Inc., and all proceeds traceable thereto; and

                     (d)    Any and all funds on deposit in Citizens Business Bank account
                            number ending in 7135, held in the name of 7D Business
                            Bureau Inc., and all proceeds traceable thereto (the “Defendants
                            In Rem”).

               The Defendants In Rem are also identified in the forfeiture allegations in the
criminal indictment. The indictment was returned on September 26, 2022 by a grand jury in
the Eastern District of New York, against Andrii Derkach, charging him with: (1) conspiracy
to violate IEEPA, in violation of 50 U.S.C. §§ 1705(a) and (c); (2) bank fraud conspiracy, in
violation of 18 U.S.C. § 1349; (3) money laundering conspiracy, in violation of 18 U.S.C. §
1956(h); and (4) engaging in monetary transactions in property derived from specified
unlawful activity (“SUA”), in violation of 18 U.S.C. § 1957. See United States v. Andrii
Derkach, 22-CR-432.

              Simply stated, the facts underlying the civil forfeiture complaint and
indictment are nearly identical. Accordingly, the government is notifying the Court that the
criminal and civil cases may be deemed related.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                             By: /s/ Madeline O’Connor
                                                 Madeline O’Connor
                                                 Assistant U.S. Attorney
                                                 (631) 715-7870




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